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  IT IS ORDERED as set forth below:



  Date: January 19, 2023
                                                         _____________________________________
                                                                    Lisa Ritchey Craig
                                                               U.S. Bankruptcy Court Judge

 _______________________________________________________________




                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

IN THE MATTER OF:                  :               CASE NUMBERS:
                                   :
CYNTHIA ANDERSON-GRAYSON,          :               BANKRUPTCY CASE
      Debtor.                      :               20-62169-LRC
__________________________________ :
S. GREGORY HAYS, as Chapter 7      :               CHAPTER 7
Trustee for the Estate of Cynthia  :
Anderson-Grayson,                  :
      Plaintiff,                   :
                                   :
v.                                 :               ADVERSARY PROCEEDING NO:
                                   :               21-05127-LRC
MICHAEL L. GRAYSON,                :
     Defendant.                    :
__________________________________ :

                                           ORDER

       Before the Court is a Motion for Entry of Default Judgment (Doc. 11) (the

“Motion”), filed by Plaintiff, in his capacity as Chapter 7 trustee of the estate (the “Estate”)


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of Cynthia Anderson-Gray (“Debtor”). The Motion arises in connection with a complaint

(Doc. 1) (the “Complaint”) filed on December 15, 2021, to avoid the transfer (the

“Transfer”) of Debtor’s interest in 1699 Braeburn Drive, Atlanta, DeKalb County, Georgia

30316 (the “Property”) and to recover and preserve the Transfer for the benefit of the

Estate. The Clerk issued a summons on December 16, 2021, and Plaintiff filed a certificate

of service the same day certifying that a copy of the Complaint and summons was served

upon Defendant on December 16, 2021. The Court granted two requests for thirty-day

extensions to do so, but Defendant failed to respond to the Complaint. (See Docs. 4, 5, 7,

and 8). On May 6, 2022, Plaintiff filed a Request for Entry of Default. (Doc. 10). On May

9, 2022, the Clerk entered default against Defendant. Defendant has failed to respond to

the Motion, and therefore, the Motion is deemed unopposed pursuant to BLR 7007-1(c).

Accordingly,

       IT IS ORDERED that the Motion is hereby GRANTED. The Court shall enter a

default judgment contemporaneously herewith.

       IT IS FURTHER ORDERED that the Transfer is avoided pursuant to 11 U.S.C.

§ 548(a)(1)(B).

       IT IS FURTHER ORDERED that Plaintiff is entitled to recover the Property or

the proceeds of the same, or the value of that interest, transferred through the Transfer

pursuant to 11 U.S.C. § 550.

       IT IS FURTHER ORDERED that the Transfer is preserved for the benefit of the

estate, pursuant to 11 U.S.C. § 551.

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Distribution List

Michael J. Bargar
Rountree Leitman Klein & Geer LLC
Century Plaza I
2987 Clairmont Road, Suite 350
Atlanta, GA 30329

Michael L. Grayson
2435 Haverford Way
Decatur, GA 30032




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